UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA
                                                                   NOTICE OF APPEARANCE
                v.
                                                                                 24 CR 676 (VEC)
 ALON ALEXANDER,
 OREN ALEXANDER, and
 TAL ALEXANDER,

                     Defendants.




TO:     Clerk of Court
        United States District Court
        Southern District of New York

        The undersigned attorney respectfully requests the Clerk to note his appearance in this case

and to add him as a Filing User to whom Notices of Electronic Filing will be transmitted in this

case.

                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney for the
                                                      Southern District of New York

                                                  by: /s/ Andrew Jones
                                                     Andrew Jones
                                                     Assistant United States Attorney
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